
720 S.E.2d 676 (2012)
STATE of North Carolina
v.
Gloria Hughes ESTES.
No. 556P11.
Supreme Court of North Carolina.
January 26, 2012.
Clyde Gary Triggs, for Estes, Gloria Hughes.
G. Patrick Murphy, Special Deputy Attorney General, for State of North Carolina.
Jerry Wilson, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 20th of December 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
